    Case 1:25-mj-00204-WBP                          Document 9                Filed 03/27/25               Page 1 of 1 PageID# 15

AO 470 (8/85] Order ofTenipoi ary Dclcnlion




                             UNITED STATES DISTRICT COURT


                                             EASTERN DISTRIC T OF VIRGINIA




UNITED STATES OF AMERICA




                       V.                                                       ORDER OF TEMPORARY DETENTION
                                                                                PENDING HEARING PURSUANT TO
                                                                                BAIL REFORM ACT


    f-l4m c)r.so,F.
                                                                                CASE NO.              Z^'CnV


           Upon motion of the United States Government, it is hereby ORDERED that

a detention hearing is set for                            H 'lQ2S                                at       Z-CCj?rfCj                 before


the F^onorable William B Porter, United States Magistrate Judge in Courtroom 400
                                             Name orJudicial Ofjlccr



located at 401 Couithouse Square. Alexandria. Virginia. Pending this hearing, the
                                             l-ocalion olMiKiicial Ol'tlccr



defendant shall be held in custody by the United States Marshal

(                                                                                           ) and produced for the hearing.
                       OlhcrCiislodiai orikial




                                                                                                                         V.


                                                                                                      /s/
                                                                                          Lindsey Robinson Vaala
Date:
                                                                                          United States Magistrate Judge
                                                                                                            Judicial Ofilcer




*iriiot held inimcdialely upon defciulani's llrst appearance, the hearing may he eotilimied lor up lo three days upon motion ofthe Government,
or up to live days upon motion ol'llie delendant- 18 IJ.S.C. § 3I42{0(2).
           A hearing is recjuired whenever the conditions set forth in IS U.S.C § 3 142(1) are present. Subsection (I) sets forth the grounds that
may he asserted only by the attorney for the Government; subsection (2) stales that a hearing is mandated upon the motion ofthe attorney for the
Government or upon the Judicial oHlcer's own motion if there is aserioirs risk that the delendant (a) will lice or (b) will obstrucl or attempt to
obstruct justice, or threaten, injirrc. or intimidate, or attempt to threaten, injirre. or intimidate a prospeetive witness or juror.
